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UNITED STATES BANKRUPTCY COURT
Southern District of Texas
PDF FILE WITH AUDIO FILE ATTACHMENT

      2022-33553
      Alexander E. Jones and Official Committee Of Unsecured Creditors
      Status Conference




      Case Type :                    bk
      Case Number :                  2022-33553
      Case Title :                   Alexander E. Jones and Official Committee Of Unsecured Creditors

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